                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JANET TAYLOR and JAMES NEWLANDS,                     )
individually and on behalf of all others similarly   )
situated,                                            )
                                                     )
                      Plaintiffs,                    )
                                                     )
       v.                                            )            1:21CV839
                                                     )
WALTER KIDDE PORTABLE                                )
EQUIPMENT, INC.,                                     )
                                                     )
                      Defendant.                     )


      ORDER APPROVING AMENDED JOINT RULE 26(f) REPORT AND
                    LOCAL RULE 5.5 REPORT

        This matter came before the Court for an initial pretrial conference hearing on June

18, 2024. During the hearing, the parties reached a tentative agreement regarding discovery

and were instructed to file an Amended Joint Rule 26(f) Report. The parties have filed the

report. (Docket Entry 53.) The Court has reviewed the Amended Joint Rule 26(f) Report

(Docket Entry 53) and Local Rule 5.5 Report (Docket Entry 51) submitted by the parties and

approves both with the following clarifications:

   1. Pursuant to the parties’ report, discovery will be phased in this matter. As a result, in

       the event the Court denies Defendant’s limited motion for summary judgment based

       on the recall (which is the subject of Phase I discovery), the remaining merits and class

       discovery will proceed. The parties shall submit a joint supplemental Rule 26(f) report

       within 30 days after the Court’s ruling, should further discovery be warranted by such

       order.




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   2. The parties shall notify the Court of their selection of a mediator within 30 days after

      entry of this order. If no mediator is selected, the Clerk shall select a mediator from

      the Clerk’s list of certified mediators.



                                                         /s/ Joe L. Webster
                                                     United States Magistrate Judge

Date: June 25, 2024




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